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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 ROBERT HUNTER BIDEN,

                            Plaintiff,

           v.

 UNITED STATES INTERNAL                                         Case No. 1:23-cv-02711-RC
 REVENUE SERVICE,

                           Defendant.



                NOTICE OF INTENT TO FILE BRIEF AS AMICUS CURIAE

       The United States House of Representatives,1 by counsel, respectfully advises both the

Court and the parties of its intent to seek leave to file a brief as amicus curiae if the pending Joint

Motion of Gary Shapley and Joseph Ziegler to Intervene as Intervenor-Defendants (ECF No. 22)

is granted, and the Proposed Intervenors’ Joint Motion to Dismiss (ECF No. 22-1) thus becomes

ripe for consideration.

       The House has a significant interest in whistleblowers providing information to Congress

regarding waste, fraud, abuse, and other misconduct at federal agencies. And if potential future

whistleblowers fear that providing such information will cause them to become the subject of




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         The Bipartisan Legal Advisory Group (BLAG) of the U.S. House of Representatives
has authorized the filing of this notice. The BLAG comprises the Honorable Mike Johnson,
Speaker of the House, the Honorable Steve Scalise, Majority Leader, the Honorable Tom
Emmer, Majority Whip, the Honorable Hakeem Jeffries, Minority Leader, and the Honorable
Katherine Clark, Minority Whip, and it “speaks for, and articulates the institutional position of,
the House in all litigation matters.” Rule II.8(b), Rules of the U.S. House of Representatives,
118th Cong. (2023), https://perma.cc/DK3P-55K6. The Speaker of the House, the Majority
Leader, and the Majority Whip voted to support the filing of this notice; the Minority Leader and
Minority Whip did not.
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vexatious litigation, they will be deterred from coming forward, harming the House’s efforts to

conduct its oversight responsibilities.

         Here, the House’s potential amicus brief will be in support of the Proposed Intervenors’

Joint Motion to Dismiss. Among other things, the brief will argue that once the House

Committee on Ways and Means votes to report any tax return or return information to the full

House in accordance with 26 U.S.C. § 6103(f)(4)(A), that information is no longer subject to the

confidentiality requirement contained at 26 U.S.C. § 6103(a).

         The House will continue to monitor the docket in this matter. If and when appropriate,

the House will seek leave to file its proposed amicus brief in accordance with the Court’s local

rules.

                                              Respectfully submitted,

                                              /s/ Matthew B. Berry
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                                                  General Counsel
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